                           UNITED STATES BANKRUPTCY COURT
                             EASTERN DISTRICT OF MICHIGAN

IN RE:                                      |
Pickering Chrystal                                 CASE NO. 18-52031-MAR

                                            |      CHAPTER 7
                                            |      Hon. Mark A. Randon

                       Debtor(s)     |


      NOTICE OF WITHDRAWAL OF TRUSTEE'S REPORT OF NO DISTRIBUTION


          DOUGLAS S. ELLMANN, Trustee, withdraws his report of no distribution report in this
matter.


Date: 5/17/2019              /s/Douglas S. Ellmann
                       DOUGLAS S. ELLMANN, TRUSTEE
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